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 AO 91 (Rev. l 1/I 1) Criminal Complaint(Rev. by USAO on 3/12/20)          ❑Original     ❑Duplicate Original


         L ODGED                     UNITED STATES DISTRICT COURT
    CLERK U.S. DISTRICT COURT

                                                                                                         FILED
        12/09/2022                                        for the                                aE,~,~~.D~,R,~~o,~t
  CENTRAL DISTRICT OF CALIFORNIA
  BY:        DVE          pEp~y               Central District of California                     12~~9~2~22
                                                                                              CE.h7RAL DISTRICT OF CAL6'OR\7A
  United States of America                                                                      H1':   M.B.        DEPL7Y




                     v.

  Anthony Aguirre,                                                   Case No. 8:22-mj-00770-DUTY

                     Defendant.


                                    CRIMINAL COMPLAINT BY TELEPHONE
                                   OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the dates) of December 8, 2022 in the county of Orange in the Central District of California, the

defendant violated:

            Code Section                                            Offense Description

            18 U.S.C. § 922(g)(1)                                   Possession of a Firearm by a Felon

         This criminal complaint is based on these facts:

          Please see attached affidavit.

         ❑
         D Continued on the attached sheet.


                                                                                           /s/
                                                                                  Complainant's signature

                                                                           Daniel Ponce, DEA,Special Agent
                                                                                   Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R Cri . P. 4.                y tel     hone.

 Date:                 12-9-2022
                                                                                       Judge's signature

 City and state:      Santa Ana, California                         Honorable John D. Early, U.S. Magistrate Judge
                                                                                  Printed name and title



AUSA: B. Marrett (ext. 3505)
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                                 T LIL~TT9~~TTT




      I, Daniel Ponce, being duly sworn, declare and state as

follows:

                           I.    INTRODUCTION

      1.   I am a Special Agent ("SA") with DEA, and have been so

employed since July 2021.       I am currently assigned to the Los

Angeles Field Division, Orange County District Office.          During

the course of my employment with the DEA, I have received

specialized training concerning violations of the Controlled

Substances Act, contained within Title 21 of the United States

Code, including during training at the DEA Training Academy in

Quantico, Virginia.    My training included specialized drug

trafficking investigative matters, including, but not limited

to, drug interdiction, money laundering techniques and schemes,

smuggling, financial investigations, controlled substance

identification, physical and electronic surveillance,

confidential source management, undercover operations, and the

investigation of individuals and organizations involved in the

smuggling, cultivation, manufacturing, and trafficking of

controlled substances.

     2.      I have spoken with individuals arrested for drug-

related crimes as well as confidential informants working with

law enforcement about the possession, sale, and distribution of

illegal substances.    I have also discussed these matters with

other federal agents and law enforcement officers.       I am

familiar with street terms involving controlled substances,

including for methods of ingestion, packaging, purchasing,

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selling, transporting, and manufacturing controlled substances.

I know that subjects involved in the possession and sale of

controlled substances often hide controlled substances in their

homes, on their person, and in their vehicles.

     3.       Additionally, I have participated in many aspects of

several drug investigations, including search warrants,

conducting surveillance, and arrests.      I am familiar with drug

trafficking methods of operation, including the distribution,

storage, and transportation of controlled substances and the

collection of money proceeds of drug trafficking and methods of

money laundering used to conceal the nature of the proceeds.         I

have assisted with investigations regarding the unlawful

importation, possession, and distribution of controlled

substances, as well as violations of related money laundering

statutes involving the proceeds of specified unlawful activities

and conspiracies associated with criminal drug trafficking

activities.

                       2I. PURPOSE OF AFFIDAVIT

     4.    This affidavit is made in support of a criminal

complaint against and an arrest warrant for Anthony AGUIRRE for

a violation of Title 18, United States Code Section 922(g)(1)

(Possession of a Firearm by a Felon).

     5.   Unless otherwise stated, the facts set forth in this

affidavit are based upon my personal observations; my training

and experience; oral and written reports about this

investigation; and physical surveillance conducted by federal

agents or local law enforcement agencies, which has been


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reported to me either directly or indirectly.       Unless otherwise

noted, when I assert that a statement was made, I have either

heard the statement directly or listened to a recording of the

statement, or the statement was reported to me by another law

enforcement officer, either directly or in a written report.

This affidavit is intended to show merely that there is

sufficient probable cause for the requested complaint and arrest

warrant, and does not purport to set forth all of my knowledge

of or investigation into this matter.      Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                   III. SUMMARY OF PROBABLE CAUSE

     6.    In October 2022, Special Agents from DEA Orange County

District Office Enforcement Group 2, Fullerton Police Department

(~~FPD"), and the Costa Mesa Police Department (~~CMPD") began

investigating the involvement of Anthony Aguirre ("AGUIRRE") in

an October 1, 2022 narcotics overdose death of a 17-year-old

juvenile, T.C.

     7.    Investigators learned that T.C.'s friend,l CS-1, had

purchased narcotics from AGUIRRE on or about September 30, 2022

and shared those narcotics with T.C. in the hours prior to

T.C.'s overdose.   CS-1 later introduced a DEA Undercover Agent

(~~UC-1") to AGUIRRE through Snapchat.

     8.   Investigators also obtained a federal search warrant


     1 T.C.'s friend is referred to herein as Confidential
Source-1 (`ACS-1")  CS-1 has no criminal history. CS-1 has
provided law enforcement information which resulted in the
introduction of UC-1 to AGUIRRE. Information provided by CS-1
has been corroborated by law enforcement investigators.

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for and reviewed AGUIRRE's Snapchat stories.       Review of the

search warrant records revealed several conversations that

discussed narcotics transactions and several images depicting

AGUIRRE with a loaded firearm.

     9.    On November 1, 2022, via Snapchat, UC-1 arranged a

controlled purchase of narcotics from AGUIRRE and on November 3,

2022 purchased ten pills stamped with the letter "M" from

AGUIRRE at a parking lot in Costa Mesa, California.        The pills

were sent to the DEA Southwest Laboratory for analysis, which

determined that the pills contained fentanyl.

     10.   Following the controlled purchase, investigators

obtained a federal warrant for and affixed a GPS tracking device

to AGUIRRE's car, a dark grey BMW bearing California license

plate 8MVN425 (the SUBJECT VEHICLE).      During surveillance of the

SUBJECT VEHICLE, investigators observed AGUIRRE's car leave

AGUIRRE's home, 3000 South Main Street, Apartment 84D, Santa

Ana, California 92707 (the SUBJECT PREMISES) and conduct what

investigators believed to be at least one narcotics transaction.

     11.   In addition, investigators have learned that AGUIRRE

may be connected to at least two additional overdoses where the

victims survived.

     12.   Based on my training and experience, investigation in

this case, review of investigation reports, and debriefings with

law enforcement officers, I am aware that on December 8, 2022,

Anthony AGUIRRE ("AGUIRRE") was arrested by the Drug Enforcement

Administration after it was discovered AGUIRRE was transporting
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approximately 20 blue M30 pills of suspected fentanyl.2

     13.   Subsequently a search warrant was executed at the

SUBJECT PREMISES and investigators discovered approximately

248.7 gross grams of suspected fentanyl, approximately gross 67

grams of suspected MDMA, approximately 127.7 gross grams of

suspected Xanax, approximately 85.2 gross grams of suspected

methamphetamine, approximately 117.2 gross grams of suspected

cocaine, approximately 216.5 gross grams of suspected

Alprazolam, and a small weight scale with drug residue, along

with empty, small Ziploc baggies.

     14.   During the search of the SUBJECT PREMISES, agents also

located a loaded Glock handgun with serial number BKWK94.        An

ATF Firearm and Ammunition Interstate Nexus Expert, informed

investigators that the firearm seized at the SUBJECT PREMISES is

a Glock, model 23, bearing serial number BKWK94, and was

manufactured outside the state of California.

     15.   I have reviewed certified conviction records for

AGUIRRE, from which I learned that AGUIRRE was convicted of

Possession for Sale of Designated Controlled Substance, a

felony, on or about February 22, 2018, in the Superior Court for

the State of California, County of Orange, case number 18WF0375.

                  IV. STATEMENT OF PROBABLE CAUSE

     A.    Overdose of T.C.

     16.   On September 30, 2022, T.C. was found unresponsive at

her home by a family member.     FPD officers responded, and T.C.

was transported to the hospital.       T.C. was pronounced dead on


    z Official laboratory tests are pending.

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October 1, 2022.     Investigators believe based on information

described below that T.C.'s death was the result of a fentanyl

overdose.

     17.     Following T.C.'s ,death, investigators interviewed

several of T.C.'s family members and friends.        One of those

friends, CS-1, informed investigators that he/she and T.C. were

together on September 30, 2022.        Earlier on September 30, 2022,

CS-1 stated that he/she had purchased pills from AGUIRRE.3          CS-1

stated that he/she and T.C. then crushed up the pills and

snorted the powder.     T.C. then returned to her home, where T.C.

was later found unresponsive by family members.

     18.     On October 21, 2022, the Honorable Karen E. Scott,

United States Magistrate Judge for the Central District of

California, signed and authorized a warrant .for the collection

of historical cell site data associated to the target telephone

number 714-482-7078, believe to be used primarily by AGUIRRE.

     19.     On October 27, 2022, the Honorable John D. Early,

United States Magistrate Judge for the Central District of

California, signed and authorized a search warrant for AGUIRRE's

Snapchat account associated with the username johndoe.714 and

display name Anthony G's Backup.

     20.     Analysis of AGUIRRE's Snapchat account revealed

several Snapchat stories in which AGUIRRE is depicted armed with

a handgun.    Among the Snapchat stories is one AGUIRRE posted on

December 5, 2022, in which AGUIRRE is depicted with money spread


     3 CS-1 further informed investigators that during prior
narcotics transactions with AGUIRRE, CS-1 observed AGUIRRE with
a firearm.

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across his lap and a handgun tucked in the side of the driver's

side seat of a car.

       B.    Buy-Walk Operation on November 3, 2022

       21.   After learning of T.C.'s overdose and interviewing CS-

1, in October 2022, CS-1 passed UC-1's Snapchat account username

to AGUIRRE via a message on Snapchat.      Between October 28 and

November 3, 2022, UC-1 was in contact with AGUIRRE via Snapchat

(messages, video calls, and phone calls).       UC-1 was in contact

with AGUIRRE regarding the negotiation, sale, and delivery of

narcotics, specifically "blues" and ~~peres".      Based on my

training and experience, I know that the term "blues" refers to

blue-colored oxycodone tablets typically stamped with the letter

"M".    These pills are also often referred to as ~~M30s", in

reference to legitimate oxycodone pills which contain 30

milligrams of oxycodone.     Based on my training and experience, I

also know that the term "peres" refers to Percocet tablets.

Percocet is a prescription medication that contains a

combination of oxycodone and acetaminophen.       Based on my

training and experience, I know that narcotics sold by drug

traffickers as "blues" and "peres" are often counterfeit

oxycodone and Percocet pills laced with fentanyl, a Schedule II

narcotic controlled substance.

       22.   On November 1, 2022, via Snapchat, UC-1 and AGUIRRE

discussed AGUIRRE selling UC-1 ~~blues" on November 3, 2022 at

the South Coast Plaza in Orange County, California.        AGUIRRE

informed UC-1 that he would meet UC-1 and drop off some ~~peres."

UC-1 informed AGUIRRE that UC-1's girlfriend (UC-2) would also


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be present.

     23.   On November 3, 2022, investigators from DEA, CMPD, and

FPD established surveillance in the area of South Coast Plaza

at 3333 Bear Street, Costa Mesa, California 92626 in

anticipation of an undercover purchase of ten ~~peres" from

AGUIRRE.

     24.   At approximately 3:12 p.m., investigators observed

a dark grey BMW bearing California license plate 8MVN435 (the

SUBJECT VEHICLE) enter the parking lot and park near UC-1's

vehicle.   A records check revealed that the SUBJECT VEHICLE was

registered to C.A.F. at an address in Santa Ana, California.

AGUIRRE was positively identified by UC-1 as the driver of the

SUBJECT VEHICLE, based on UC-1's review of AGUIRRE's California

driver's license photograph, and previous video calls with and

picture messages sent to UC-1 over Snapchat.

     25.   At approximately 3:13 p.m., investigators observed UC-

1 approach the passenger side of the SUBJECT VEHICLE.        AGUIRRE

instructed UC-1 to get into the SUBJECT VEHICLE, but UC-1

refused.   AGUIRRE then departed the area in the SUBJECT VEHICLE

without completing the narcotics transaction.

     26.   Shortly after, investigators observed the AGUIRRE

perform counter surveillance maneuvers.      AGUIRRE drove the

SUBJECT VEHICLE through South Coast Plaza in circles, making

quick turns throughout the mall parking lot.

     27.   At approximately 3:32 p.m., investigators observed

AGUIRRE park the SUBJECT VEHICLE in the area near 3333

Bristol Street, Costa Mesa, California.      Investigators observed


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 the SUBJECT VEHICLE reverse and park near a white SUV bearing

 California license plate 6PHK785.      A records check revealed the

 registered owner of the white SUV to be O.A. at an address in

 Huntington Beach, California.     Shortly after, investigators

 observed AGUIRRE open the driver's side door and two

 unidentified females exit the white SUV and approach the

 driver's side of the SUBJECT VEHICLE.      Shortly after, the two

 unidentified females reentered the white SUV and AGUIRRE

 departed the area.

      28.   After AGUIRRE departed, several telephone calls and

 messages via Snapchat were exchanged between UC-1 and AGUIRRE.

AGUIRRE sent a video message via Snapchat of two clear plastic

baggies with blue stars.     One was a small baggie that contained

 what appeared to be a white crystalline substance resembling

cocaine; the other was a small baggie that contained what

appeared to be approximately 10 blue pills with the marking "M".

AGUIRRE informed UC-1 that he had just finished a

separate transaction in the parking lot of Maggiano's restaurant

located at 3333 Bristol Street, Costa Mesa, California.

AGUIRRE then informed UC-1 that he would be returning to UC-1's

location to complete the prearranged transaction.

      29.   At approximately 3:38 p.m., investigators observed the

SUBJECT VEHICLE enter the parking lot and park near the UC

vehicle.

      30.   At approximately 3:40 p.m., investigators observed

AGUIRRE exit the SUBJECT VEHICLE and enter UC-1's vehicle.

While in UC-1's vehicle, AGUIRRE exchanged with UC-1 one small


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 zip lock baggie with stars which contained approximately 10 blue

 pills with the marking "M", for $150 U.S. dollars of

 DEA Official Advanced Funds.     AGUIRRE asked if UC-1 was aware of

 what recently happened to CS-1's friend.       AGUIRRE informed UC-1

 to be careful with the pills because CS-1's `~homegirl" died.

 AGUIRRE then stated CS-1's ~~homegirl died due to those shits".

      31.    Based on my training and experience, as well as

 conversations with senior investigators, I believe that when

 AGUIRRE asked UC-1 if UC-1 was aware of the death of CS-1's

 friend, AGUIRRE was referring to the overdose death of T.C.

 When AGUIRRE stated ~~homegirl died due to those shits", I

 believe AGUIRRE was stating that the overdose death of T.C.

 occurred due to pills sold to T.C.'s friend CS-1 on September

 30, 2022.

      32.    At approximately 3:42 p.m., investigators observed

AGUIRRE exit the UC vehicle and enter the SUBJECT VEHICLE.

Shortly after, AGUIRRE departed the parking lot.

      33.     At approximately 4:00 p.m., investigators observed

the AGUIRRE park the SUBJECT VEHICLE in the area of the SUBJECT

PREMISES.     At approximately 4:06 p.m., surveillance was

terminated.

      C.     Authorization of GPS Tracker Warrant

      34.    On November 17, 2022, the Honorable Karen E. Scott,

United States Magistrate Judge for the Central District of

California, signed and authorized a warrant allowing for the

covert placement of a tracker on the SUBJECT VEHICLE.

      35.    On November 17, 2022, at approximately 3:00


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 p.m., members of the CMPD installed the tracker on the SUBJECT

 VEHICLE.

         D.    Surveillance of the SUBJECT PREMISES on November
               28,2022

         36.   On November 28, 2022, at approximately 11:25 a.m., DEA

 and FPD established surveillance in the area of the SUBJECT

 PREMISES.

         37.   At approximately 2:04 p.m., SA Scott Flanigan observed

 AGUIRRE exit the SUBJECT PREMISES.      SA Flanigan observed AGUIRRE

 exit the SUBJECT PREMISES and put his sweater hood over his

 head.     SA Flanigan observed AGUIRRE walk to the SUBJECT VEHICLE.

 After a few moments, AGUIRRE was observed leaving the apartment

 complex on foot.

      38.      At approximately 2:06 p.m., I observed AGUIRRE meet

 with a female, later identified as E.M.      E.M. drove a white

Infiniti bearing license plate 6MYW647.       A records check

revealed that the Infiniti was registered to E.M.        I observed

E.M. and AGUIRRE remove two bags from the white Infiniti.

      39.      At approximately 2:08 p.m., I observed AGUIRRE and

E.M. walking back toward the SUBJECT PREMISES.        Shortly after,

SA Flanigan observed AGUIRRE and E.M. enter the SUBJECT

PREMISES.

      40.      At approximately 4:50 p.m., surveillance was

terminated.

      E.       Overdose of A.P.

      41.      On November 28, 2022, FPD Detective Richard Herrera

contacted me and informed me of a recent overdose of A.P.



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       42.   On November 28, 2022 and November 30, 2022, Detective

 Herrera and I interviewed A.P. regarding A.P.'s overdose during

 the early morning hours of November 27, 2022.       In the initial

 interview, A.P. stated that she arranged to purchase narcotics

 from AGUIRRE via Snapchat and later met AGUIRRE for the

 transaction.       A.P. further told Detective Herrera that there

 were sexual events that occurred on November 27, 2022, but that

 she did not get into details.

      43.    Subsequently, two days later, on November 30, 2022,

 Detective Herrera and I had a follow up interview with A.P.          At

 the second interview, A.P. relayed substantially the same

information as during the initial interview, but also provided

details concerning the sexual events that occurred.         The

following is a summary of the second interview:

             a.      A.P. recalled that in the early morning hours of

November 27, 2022, A.P. contacted AGUIRRE via Snapchat to order

narcotics.        A.P. informed AGUIRRE that she would be home soon

and sent AGUIRRE an address near her home to meet.

             b.     A.P.'s mother provided investigators with images

of A.P.'s Snapchat messages.       The Snapchat messages showed that

A.P. communicated with the Snapchat account with the display

name Anthony G's Backup.       This account is the same account that

was used to communicate with UC-1 to arrange the November 3,

2022 transaction.

             c.     I reviewed the Snapchat messages, which revealed

that A.P. contacted AGUIRRE and asked if AGUIRRE was still




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 selling ~~Xans" and ~~Peres."4   AGUIRRE replied that he was.5     A.P.

 and AGUIRRE set up a meeting to hang out and smoke.        A.P. agreed

 to give oral sex to AGUIRRE if they smoked some `~peres."        A.P.

 then sent AGUIRRE an address that is a short walk from

 the A.P.'s home to meet her at.

             d.   A.P. informed Detective Herrera and me that she

 left her home and entered AGUIRRE's vehicle, which A.P.

 described as a dark grey BMW, which is consistent with the

 description of the SUBJECT VEHICLE.      A.P. stated that AGUIRRE

 then proceeded to take her to "Skyline."

             e.   A.P. stated that AGUIRRE then took out a pill and

 crushed it, which A.P. then snorted.      AGUIRRE then handed A.P. a

 water bottle with alcohol.     A.P. said that she drank some of the

 alcohol, and AGUIRRE then proceeded to make sexual

 advances.    A.P. initially rebuffed the advances, but stated that

 AGUIRRE continued to pressure her to have sex with him.        A.P.

 said that AGUIRRE told her that he would not take her home

 unless something happened sexually between them.

             f.   A.P. stated that AGUIRRE then pinned her down and

 had sex with her.    A.P. recalled that she was ~~in and out" due



     4 As noted above, based upon my training and experience, I
know that "Peres" is a term used for Percocet tablets (a
combination of oxycodone and acetaminophen). Additionally,
based upon my training and experience, I know that `~Xans" is
a term used in reference to Xanax tablets (a benzodiazepine
classified as a Schedule IV narcotic controlled substance). I
know that both "Peres" and ~~Xans" are commonly sold as
counterfeit pills laced with fentanyl.
     5 A.P. indicated to investigators that she had purchased
narcotics from AGUIRRE on previous occasions as well. A.P. also
informed investigators that during at least one previous
narcotics transaction, she observed AGUIRRE with a firearm.

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 to the drugs and alcohol but remembers AGUIRRE having sex with

 her.    A.P. stated that she felt pain in her vagina the following

 day.    A.P. stated that she only remembers bits and pieces after

 ingesting the drugs and alcohol.

              g.   A.P. recalled that after AGUIRRE had sexual

 intercourse with her, AGUIRRE handed her drugs and took A.P.

 home.    A.P. stated that she received approximately 6 pills from

 AGUIRRE in a small zip lock baggie.       A.P. said that she had also

 previously purchased narcotics from AGUIRRE, and on those

 occasions, AGUIRRE had provided pills to her in a small zip lock

 baggie with small shapes going across the bag.

              h.   A.P. stated that when she arrived home she

took half of one of the pills provided by AGUIRRE and then later

 woke up in the hospital.

        44.   Following the interview, investigators analyzed the

GPS tracking data from the device placed on the SUBJECT .VEHICLE

for the date of November 27, 2022.        On that date, at

approximately 4:22 a.m., GPS tracking data showed the SUBJECT

VEHICLE in the area of the address provided by A.P. to AGUIRRE

as the meet location.      At approximately 4:27 a.m., the GPS

tracking data showed the SUBJECT VEHICLE at Skyline Drive, the

same street name as where A.P. stated that AGUIRRE took her to

after she entered AGUIRRE's BMW.        At approximately 6:00

a.m., GPS tracking data showed the SUBJECT VEHICLE in the

parking lot of the SUBJECT PREMISES.

        45.   I have also reviewed bodycam footage from the FPD

taken during their investigation of A.P.'s overdose.         In the


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 bodycam video, FPD officers can be seen recovering a small zip

 lock baggie with stars containing small blue pills from A.P.'s

 bedroom.    This packaging is consistent with the packaging

 described by A.P. during A.P.'s interview, as well as the

 packaging for the 10 fentanyl pills purchased by UC-1 from

 AGUIRRE on November 3, 2022.

      F.     Surveillance of AGUIRRE on November 30, 2022

      46.    On November 30, 2022, GPS tracking data showed the

 SUBJECT VEHICLE in the area of 20271 Southwest Birch Street,

 Newport Beach, California 92660.       At approximately 3:50 p.m.,

 investigators established surveillance in the vicinity of that

 location.    I observed AGUIRRE enter the SUBJECT VEHICLE.

Surveillance was maintained on the SUBJECT VEHICLE until

investigators observed AGUIRRE arrive at the SUBJECT PREMISES

later that evening.     After observing the SUBJECT VEHICLE enter

the apartment complex at the SUBJECT PREMISES, investigators

then observed AGUIRRE inside the SUBJECT PREMISES.

      G.     Overdose of S.H.

      47.    On December 1, 2022, DEA GS James Eastman contacted

the Laguna Beach Police Department (~~LBPD") and learned of a

suspected overdose in the area of Summit Drive, Laguna Beach,

California.     I then contacted LBPD Officer Britnie Priest.

Officer Priest informed me that on November 30, 2022, LBPD

responded to a suspected overdose of a 19-year-old male, S.H.,

at 1131 Summit Drive, and that S.H. was transferred to the

hospital that evening.

      48.    After learning of the overdose, investigators reviewed


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 the GPS tracking data for the SUBJECT VEHICLE.       GPS tracking

 data showed that on the evening of S.H.'s overdose, November 30,

 2022, the SUBJECT VEHICLE was in the area near 1131 Summit Drive

 at approximately 6:08 p.m.

         49.   On December 2, 2022, SA Aguilar and I went to LBPD and

 reviewed bodycam footage from the night of S.H.'s suspected

 overdose.      After reviewing the bodycam footage and informing

 Officer Priest of the current investigation into AGUIRRE,

 Officer Priest, Officer Brittany Royer, and Crisis Assessment

 Team Member Kathy Raphael conducted a welfare check at S.H.'s

 home.

         50.    LBPD officers spoke to S.H.'s parents.   S.H.'s

parents informed the officers that they confiscated S.H.'s iPad.

S.H.'s parents gave consent to Officer Priest to search the

iPad.     On the iPad, Officer Priest found S.H.'s Snapchat account

and observed that on November 30, 2022, S.H. had been in contact

with AGUIRRE's Snapchat account (the same account AGUIRRE used

to communicate with UC-1).       Attachments sent between the

Snapchat accounts showed that S.H. shared his home address with

AGUIRRE.       Attachments also showed that a phone call was made via

Snapchat by S.H. to the number 714-482-7078.        Based on an

administrative subpoena to T-Mobile, investigators are aware

that this number is subscribed to ~~Anthony N. Aguirre."

Investigators are also aware that CS-1 contacted AGUIRRE

previously using this number.      Further, based on a review of CS-

1's phone, CS-1 had the phone number 714-482-7078 saved with a

"plug" emoji. I know based on my training and experience that a


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 ~~plug" emoji is used to signify a distributer of narcotics.

      51.   During the review of the iPad, Officer Priest also

 observed records of an Apple cash payment of $165.00 from S.H.

 to the number 714-482-7078 on November 30, 2022.       During

 interviews with CS-1 and A.P., they both stated that AGUIRRE

 would agree to travel to their location to distribute narcotics,

 but only if they purchased $100 or more worth of narcotics.

 Accordingly, based on the amount of the Apple cash transaction,

 S.H.'s overdose, the GPS tracking data, and information provided

 b y CS-1 and A.P., I believe that AGUIRRE delivered to S.H. the

 narcotics that resulted in S.H.'s overdose.

      H.    Execution of Search Warrant of the SUBJECT PREMISES,
            SUBJECT VEHICILE, and AGUIRRE, and Arrest of AGUIRRE
            on December 8, 2022

      52.   On December 8, 2022, the Honorable John D. Early,

United States Magistrate Judge for the Central District of

California, signed and authorized a search warrant for the

SUBEJECT PREMISES, AGUIRRE, and the SUBJECT VEHICLE.

      53.   On December 8, 2022, via Snapchat, UC-1 and AGUIRRE

discussed AGUIRRE selling UC-1 ~~blues" in Costa Mesa,

California.    UC-1 asked AGUIRRE if UC-1 could get 25 pills

because the previous 10 UC-1 ordered went quickly.        AGUIRRE

stated to UC-1 "got you b".      UC-1 and AGUIRRE agreed to meet at

South Coast Plaza later that afternoon.

      54.   On December 8, 2022, investigators from CMPD

established surveillance in the area of South Coast Plaza

at 3333 Bear Street, Costa Mesa, California 92626 in

anticipation of a traffic stop of AGUIRRE.       Investigators from


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 the DEA, FPD, and Tustin Police Department ("TPD") established

 surveillance at the SUBJECT PREMISES.

      55.   Approximately 3:30 P.M., SA Aguilar observed AGUIRRE

 arrive and park in his assigned space at the SUBJECT PREMISES.

 Shortly after, AGUIRRE entered the SUBJECT PREMISES.

      56.   At approximately 3:58 P.M., SA Aguilar observed

 AGUIRRE exit the SUBJECT PREMISES, enter the SUBJECT VEHICLE,

 and depart the area.

      57.   Surveillance was maintained on AGUIRRE, and at

 approximately 4:25 P.M., CMPD officers conducted a traffic stop

 on the SUBJECT VEHICLE.

      58.   When CMPD conducted the traffic stop, they instructed

AGUIRRE to exit the SUBJECT VEHICLE.       Once AGUIRRE exited the

SUBJECT VEHICLE, officers observed a small baggie containing

blue pills in the driver's side door.       At this time, officers

then deployed a narcotics K9 to walk around the vehicle.         The

narcotics K9 alerted to the presence of illicit drugs inside the

vehicle.    Following a positive alert from the K9, officers

conducted a thorough search of the vehicle and removed the small

baggie containing approximately 20 blue pills.        AGUIRRE was

arrested and transported without incident.

      59.   At approximately 4:15, CMPD executed a search warrant

of the SUBJECT PREMISES.     During the search of the SUBJECT

PREMISES, investigators discovered in a small bag located in the

kitchen cabinet adjacent to the refrigerator the following

items:
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             a.   approximately 248.7 gross grams of suspected

 fentanyl;

             b.   approximately gross 67 grams of suspected MDMA;

             c.   approximately 127.7 gross grams of suspected

 Xanax;

             d.   approximately 55.6 gross of suspected

 methamphetamine;

             e.   approximately 117.2 gross grams of suspected

 cocaine;

             f.   approximately 216.5 gross grams of suspected

 Alprazolam;

             g.   a small weight scale with drug residue on it;

             h.   small baggies with stars on them.     Based on my

 knowledge of this investigation. I know that this packaging is

consistent with (1) the packaging used by AGUIRRE to distribute

narcotics to A.P., as described by A.P. in her interview, (2)

the packaging for the 10 fentanyl pills purchased by UC-1 from

AGUIRRE on November 3, 2022, and (3) the packaging for the

approximately 20 suspected fentanyl pills found in the SUBJECT

VEHICLE; and

             i.   small baggies with black circles on them.      Based

on my knowledge of this investigation, I know that this

packaging is consistent with the packaging found in the sock

drawer in T.C.'s bedroom following T.C.'s overdose death and

which contained half of a crushed fentanyl pill.

      60.    During the search of the SUBJECT PREMISES,

investigators also located in the kitchen cabinet below the


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 kitchen island a loaded Glock handgun, bearing serial number

 BKWK94.

      61.    During the search, investigators further located in a

 drawer in the bathroom a small baggie containing approximately

 29.6 gross grams of suspected methamphetamine.

      I.     Interview of AGUIRRF

      62.    Following the search, FPD Detective Herrera, SA

 Aguilar, and I conducted an interview with AGUIRRE at the Costa

 Mesa Police Department.    Prior to beginning the Interview, I

 read AGUIRRE his Miranda rights and asked AGUIRRE if he

 understood his rights, to which he answered yes.       I asked

AGUIRRE to tell investigators his recollection of what occurred

on the day of his arrest.      AGUIRRE stated that he was going to

meet some "Bitch" to "Fuck" when he was pulled over by CMPD.          I

asked AGUIRRE where he got the blue pills seized by CMPD.

AGUIRRE stated he was a junkie and was not aware of where he got

the pills.     I informed AGUIRRE that police officers searched his

home and located various drugs.      I told AGUIRRE that in my

training and experience the amount of narcotics discovered at

his home was not a user amount.      AGUIRRE stated that he does not

sell drugs.     I asked if the gun found at the home was registered

to AGUIRRE, and he answered that it might be.        When I asked

AGUIRRE why he had the gun, AGUIRRE stated that he needed it for

protection.     I asked AGUIRRE if he carried the weapon outside of

his home and he stated he does not.

      63.     During the search of the SUBJECT PREMISES,

investigators discovered small baggies with stars in the same
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 bag as the various other narcotics in the kitchen cabinet.

 Investigators also discovered small baggies with black circles.

 I asked AGUIRRE about the baggies, and he stated he would use

 them to transport a small number of narcotics in case he was

 pulled over by law enforcement.        I asked about the SUBJECT

 VEHICLE, and AGUIRRE stated the vehicle belonged to his brother

 and that he only had it on the day he was arrested.6

      J.    Interstate Nexus and AGUIRRE's Felony Conviction

      64.   On or about December 8, 2022, I obtained and reviewed

 certified court records relating to AGUIREE's prior felony

conviction.    Based on my review of those records, on or about

 February 22, 2018, AGUIRRE was convicted of Possession for Sale

of Designated Controlled Substance, a felony, in violation of

California Health and Safety Code section 22375(b), in the

Superior Court for the State of California, County of Orange, in

case number 18WF0375.

      65.   On December 9, 2022, I spoke with ATF SA Ryan

Cantazano, an ATF Firearm and Ammunition Interstate Nexus

Expert, who informed me that the firearm seized at the SUBJECT

PREMISES is a Glock, model 23, bearing serial number BKWK94, and

was manufactured outside the state of California.        Because the

firearm was manufactured outside the State of California, it had

to have travelled in interstate or foreign commerce in order to

reach the SUBJECT PREMISES.



     6 Based on past surveillance operations, the buy/walk
operation conducted on November 3, 2022, and the GPS tracking
data from the SUBJECT VEHICLE, I am aware that AGUIRRE uses the
SUBJECT VEHICLE on a daily basis.

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                              V.   CONCLUSION

      66.   For all the reasons described above, there is probable

 cause to believe that AGUIRRE has committed a violation Title

 18, United States Code, Section 922(8)(1) Possession of a

 Firearm by a Felon.




                                                 /s/
                                          Daniel A Ponce
                                          Special Agent
                                          Drug Enforcement Administration

Sworn to before me by telephone
this 9th day of December, 2022.




HO      LE JOHN D. EARLY
U     D STATES MAGISTRATE       GE




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